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 1                                            THE HONORABLE RICARDO S. MARTINEZ
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 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9
     UNITED STATES OF AMERICA,                    )   No. CR19-261-RSM
10                                                )
                    Plaintiff,                    )
11                                                )   ORDER GRANTING UNOPPOSED
               v.                                 )   MOTION TO SCHEDULE GUILTY
12                                                )   PLEA HEARING VIA
     AUDREY NOLAND-JAMES,                         )   VIDEOCONFERENCE
13                                                )
                    Defendant.                    )
14                                                )
15          THE COURT has considered the unopposed motion of the parties to proceed

16   forward with a guilty plea hearing via videoconference and finds that:

17                  (a) Under General Order 04-20, felony pleas and sentencings may

18   proceed by video or telephone if “the district judge in a particular case finds for specific

19   reasons that the plea or sentencing in that case cannot be further delayed without

20   serious harm to the interests of justice.” A plea hearing in this case cannot be delayed

21   without serious harm to the interests of justice; and

22                  (b) Ms. Noland-James would like to plead guilty and resolve the case in a

23   timely fashion; and

24                  (c) Ms. Noland-James wishes to enter a plea as soon as possible in light of

25   anticipated delay associated with the COVID pandemic and a desire to alleviate

26   presumptive backlogged court calendars following the COVID recovery process. Ms.


       ORDER GRANTING UNOPPOSED MOTION                             FEDERAL PUBLIC DEFENDER
       TO SCHEDULE GUILTY PLEA HEARING VIA                            1601 Fifth Avenue, Suite 700
       VIDEOCONFERENCE - 1                                              Seattle, Washington 98101
       US v. Noland-James; CR19-261RSM                                             (206) 553-1100
              Case 2:19-cr-00261-RSM Document 57 Filed 09/28/20 Page 2 of 2




 1   Noland-James believes that the Court may not be as able to accommodate a timely
 2   resolution of his case in the future as more cases are delayed; and
 3          (d) a videoconference guilty plea hearing would avoid further delays in the
 4   ultimate sentencing in this case, which would cause “serious harm to the interests of
 5   justice.” See General Order No. 04-20 (3/30/20).
 6          IT IS THEREFORE ORDERED that this matter should be set for a guilty plea
 7   hearing via videoconference at the earliest practicable date and after coordination
 8   between the Court and the parties.
 9
10          DONE this 28th day of September, 2020.
11
12
13                                             A
                                               RICARDO S. MARTINEZ
14                                             CHIEF UNITED STATES DISTRICT
                                               JUDGE
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     Presented by:
19
     /s/ Gregory Geist
20   Assistant Federal Public Defender
21   Attorney for Audrey Noland-James

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       ORDER GRANTING UNOPPOSED MOTION                            FEDERAL PUBLIC DEFENDER
       TO SCHEDULE GUILTY PLEA HEARING VIA                           1601 Fifth Avenue, Suite 700
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